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       Attorney for Plaintiff


                           IN THE U.S. DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA
                                HELENA DIVISION

                                       ******

CARL WOOTEN, III,                            )      Cause No.
                                             )
                      Plaintiff,             )
                                             )
       vs.                                   )      COMPLAINT AND
                                             )      DEMAND FOR JURY TRIAL
UNITED STATES OF AMERICA                     )
(ex. rel. PUREVIEW/COOPERATIVE               )
HEALTH CENTER DENTAL CLINIC),                )
                                             )
                      Defendant.             )

                                       ******

       Plaintiff for his complaint against Defendant alleges the following:

                                    JURISDICTION

       1.     This claim is against the United States following adherance to the Federal

Tort Claim Act. This case was filed under 28 U.S.C. § 1346 as it involves a tort claim

against the federal government for negligence which occurred at an agency of the United

States Government located in Helena, Montana.



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                               FACTUAL ALLEGATIONS

         2.    Plaintiff (date of birth: 4/8/7 6) was a dental patient at the Pureview Health

Center located in Helena, Montana. He received a variety of services and as a result

suffered serious personal injury and associated damages because of the dental care he

received at Defendant's facility.

         3.    The services performed by the Defendant's providers constituted negligent

dental care and negligent dental treatment. Defendant's staff deviated from dental

standards of care which caused a broken mandible and disruption of teeth which in tum

caused dental/medical bills, pain and suffering and damage to Plaintiffs life and lifestyle.

         4.    More specifically, on November 5, 2015, Plaintiff presented to Pureview/

Cooperative Health Center Dental Clinic with complaints of acute dental pain, swelling

localized to a side of his face. He told the technician that he thought he may have broken

a tooth in the lower right of his mouth (tooth number 30). He was put on Augmentin and

told to go to the emergency room for x-rays. He came back to the Pureview/Cooperative

Health Center Dental Clinic the next day with reports that his condition was getting

worse.

         5.    On 11/20/15 Plaintiff presented again to Pureview for an extraction of

tooth number 30 as that was recommended to him by the technicians at Pureview. It was

during that procedure that the dentist (an employee of Defendant) caused Plaintiffs right

mandible to be fractured, which caused a cavalcade of problems for Plaintiff. Plaintiff

received extensive medical and dental care thereafter and ultimately had procedures done

to debride and repair the fracture. It caused other teeth to be adversely affected which


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required Plaintiff to get extensive care for his other teeth. The care rendered by the

dentist on 11/20/15 at Pureview deviated from acceptable standards of dental care and the

extraction was not done properly and broke the right mandible in the process.

          6.     Plaintiff has incurred medical and dental expenses, a great deal of pain and

suffering, damage to his life and lifestyle, and has been prevented from working, all to his

great damage in an approximate amount of $300,000.

          WHEREFORE, Plaintiff prays for all damages, including special, general and

compensatory damages, as are proved at trial, together with his costs and disbursements

herein.

          DATED this   5th   day of September, 2018.

                                         DOUBEK, PYFER, FOX & STORRAR PC




                                         ByJoOO~
                                            Attorney for Plaintiff




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